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WES'HERN D L$TNCTT:A%UR KA-i-\;c
Norman J ay Carpenter M[E »‘\ ..
c/o P.O. Box 638
Bentonville [72712]

Arkansas state
(479) 633-3750

 

In Propria Persona
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In The
United States District Court for the
Western District of Arkansas,
Fayetteville Division

Norman J ay Carpenter,

Plaintiff

Case No. 0 §§ 52 5 3

28 U.S.C. 1331
15 U.S.C. 1692, et seq.

V.

 

HOOD & STACY, P.A.,
Rickard W. Hood,
Burton E. Stacy, Jr.,
Courtney M. Wolin,

Defendants

 

VERIFIED COMPLAINT IN THE NATURE OF A PETITION FOR R.EDRESS
OF INJURIES UNDER AUTHORITY OF THE FAIR DEBT COLLECTIONS

PRACTICES 1"LC'I`,l FOR VIOLATIONS UNDER 15 U.S.C. 1601, E'I` SEQ.

 

Constructive Notice: to this Court and all interested parties that Plaintiff’s name is
Norman Jay Carpenter and is the only styling he answers to in a legal sense, in
accordance With established rules of English language grammatical construction and the
United States Styles Manual. Any other styling whatsoever shall be construed as
misnomer, mistaken identity and attempted identity conversion, idem sonans

notwithstandingl

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Case 5:05-cV-0553-.]LH Document 1 Filed 08/29. Page 2 of 4 Page|D #: 2

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I, Norman J ay Carpenter, Plaintiff herein, of lawful age and competent to testify, by
my signature below, hereby verify under penalty of perjury, under the laws of the United
States of America, without the "United States" [federal government], that this
Complaint is true, correct, compiete, and not misleading, to the best of my current
knowledge and belief, pursuant to federal statute, Title 28, United States Code, Section
1746 (1), so help me Almighty God.

Executed at Benton County, Arkansas state, signed by my hand below on this the

twenty-ninth day of August, in the year of our Lord, Chrz'st Jesus, two thousand jive.

'%W/q J%%:, Norman Jay Carpenter

COMPLAINT

 

1. The district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States, in accordance with 28 U.S.C. 1331 as
a Federal question. 15 U.S.C. 1692, et seq., is a law of the United States.

1. Norman J ay Carpenter, an aggrieved party, petitions this Court under authority of 15
U.S.C. 1692, et seq., Federal Fair Debt Collection Practices Act, hereinafter “the Act.”

2. FIRST CAUSE OF ACTION: HOOD & STACY, P.A., Rickard W. Hood, Burton E.
Stacy, Jr., and Courtney M. Wolin, hereinafter “Defendants” engaged in collection
activity on or about October 14, 2005, without prior advising Norman J ay Carpenter of
due process rights expressly reserved at 15 U.S.C. 1692(g)[b).

3. SECOND CAUSE OF ACTION: Beginning on or about 0ctober 14, 2005, Defendants
began a pattern of violating 15 U.S.C. 1692(e)(4), (5) by making false and misleading

representations in connection with the collection of alleged debts.

2of4

 

 

Case 5:05-cv-OBS%-.]LH Document 1 Filed 08/29. Page 3 of 4 Page|D #: 3

4. THIRD CAUSE OF ACTION: Beginning on or about 0ctober 14, Defendants violated
15 U.S.C. 1692(i) by threatening to interfere with the private interests of Norman Jay
Carpenter where no present right to possession of the property existed as collateral
through an enforceable security interest.
5. Defendants are debt collectors. See 15 U.S.C. 1692(a)(6). See also, George W. Heintz,
et al, v. Darlene Jenkins, 514 U.S. 291; 115 S.Ct. 1489 (1995).
6. Norman J ay Carpenter is lawfully entitled to statutory damages against Defendants
up to a maximum of one thousand dollars ($1,000.00). See 15 U.S.C. 1692(k](a)(1),
(2)(A). In addition to statutory damages, Norman J ay Carpenter is lawfully entitled to
unlimited damages for emotional distress, embarrassment, and humiliation caused by
Defendants.
7. Plaintiff specifically reserves the right to amend this complaint and file other
pleadings and exhibits as may be appropriate

Remedy Sought
8. A determination by this Court, that the written Constitution of the State of Arkansas
of 1874, lawfully amended, and the Arkansas Uniform Commercial Code, consistent
with the Act, affords Norman J ay Carpenter greater protection and relief than the Act
and justly requires the Court’s instruction of such to the j ury.
9. A Trial by Jury’s determination that Defendants violated consumer law justly
requires this Court to enter an order for Defendants to compensate Norman J ay
Carpenter for statutory damages not exceeding $1,000.00 plus the costs of bringing this
action. A jury’s determination that Defendants subjected Norman J ay Carpenter to life
threatening emotional stress With misrepresentations and false claim that Norman J ay

Carpenter could be compelled to pay one hundred forty-eight thousand three hundred

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eight dollars (US$148,308) without a true validation of alleged debts, justly requires a
jury’ s decision as to whether Defendants should be compelled to pay Norman J ay
Carpenter treble damages in the amount of four hundred forty-four thousand nine

hundred twenty-four (US$444,924) as a means to amend Defendants’ bad behavior.

 

 

TRIAL BY JURY DEMANDED
H%‘\¢(-;f z , Norman J ay Carpenter
CertiHcate Of Service

1 certify by my signature below that I have this thirtieth day of August, A.D. 2005,
served a true and correct file stamped copy of the foregoing Complaint by placing same
in the United States mail, sufficient postage prepaid to:

Rickard W. Hood., Attorney Cerriiied Mail # 7004 1160 0005 4695 9759
HOOD & STACY, P.A. Return Receipt Requested
216 North Main Street

Bentonville, Arkansas 72712

Burton E. Stacy, Jr. Certit`ied Mail # 7004 1160 0005 4695 9766
HOOD & STACY, P.A. Return Receipt Requested
216 North Main Street

Bentonville, Arkansas 72712

Courtney M. Wolin Certified Mail # 7004 1160 0005 4695 9728
HOOD 8c STACY, P.A. Return Receipt Requested
216 North Main Street

Bentonville, Arkansas 72712

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